            Case 8:18-bk-06457-CPM           Doc 43      Filed 04/17/19     Page 1 of 7



                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

In re:                                                     Case No. 8:18-bk-06457-CPM
                                                           Chapter 7
John Scott Black,

      Debtor(s).
_______________________________/

                                     NOTICE OF HEARING
        A PRELIMINARY HEARING in this case will be held on May 1, 2019 at 9:30 a.m.
 in Courtroom 9B (Colton) 8B (McEwen) 8A (Williamson), Sam M. Gibbons United States
 Courthouse, 801 N. Florida Ave., Tampa, FL, 33602, before the Honorable Catherine Peek
 McEwen, United States Bankruptcy Judge, to consider this matter and transact such other
 business that may come before the court:

    Motion to Sell Property Free and Clear of Liens. Property description: 7741 Still Lakes
        Drive, Odessa, FL 33556. And Request for Expedited Hearing. (Doc. No. 41)

     1. The hearing may be continued upon announcement made in open Court without
        further notice.
     2. Appropriate Attire. You are reminded that Local Rule 5072−1(b)(16) requires that all
        persons appearing in Court should dress in business attire consistent with their
        financial abilities. Shorts, sandals, shirts without collars, including tee shirts and tank
        tops, are not acceptable.
     3. Avoid delays at Courthouse security checkpoints. You are reminded that Local Rule
        5073−1 restricts the entry of cellular telephones and, except in Orlando, computers
        into the Courthouse absent a specific order of authorization issued beforehand by the
        presiding judge. Due to heightened security procedures, persons must present photo
        identification to enter the Courthouse.

Dated: April 17, 2019

                                               Respectfully submitted,

                                               /s/ Christine L Herendeen
                                               Christine L. Herendeen
                                               Florida Bar No. 0094315
                                               Herendeen Law, LLC
                                               P.O. Box 152348
                                               Tampa, FL 33684
                                               (813) 438-3833
                                               clherendeen@herendeenlaw.com
            Case 8:18-bk-06457-CPM         Doc 43     Filed 04/17/19     Page 2 of 7




                                  CERTIFICATE OF SERVICE

       I hereby certify that on April 17, 2019, a true and correct copy of the foregoing Notice of

Hearing has been furnished by electronic delivery or first class U.S. mail to the attached matrix

and to the parties listed below


       Mountain States Adjustment, a Division of MS Services LLC, a foreign limited liability
       company, as assignee of Bank of the West for the use and benefit of Bank of The West, as
       assignee of Intermarine, c/o Steven B. Sprechman, Esq., Sprechman & Associates, P.A.,
       2775 Sunny Isles Blvd., Suite 100, Miami, FL 33160

       Mountain States Adjustment, a Division of MS Services LLC, a foreign limited liability
       company, as assignee of Bank of the West for the use and benefit of Bank of The West, as
       assignee of Intermarine, c/o Stacey S. Fisher, Esq. Sprechman & Associates, P.A., 2775
       Sunny Isles Blvd., Suite 100, Miami, FL 33160

       Mountain States Adjustment, a Division of MS Services LLC, a foreign limited liability
       company, as assignee of Bank of the West for the use and benefit of Bank of The West, as
       assignee of Intermarine, 123 W. First Street, Ste. 430, Casper, WY 82601

       Mountain States Adjustment, a Division of MS Services LLC, a foreign limited liability
       company, as assignee of Bank of the West for the use and benefit of Bank of The West, as
       assignee of Intermarine, Attn: NRAI Services, Registered Agent, 1200 South Pine Road,
       Plantation, FL 33324 (via certified mail)

       American Express Bank, FSB, successor in interest to American Express National Bank,
       4315 S. 2700 West, Salt Lake City, UT 84184

       American Express Bank, FSB, successor in interest to American Express National Bank,
       Attn. Robert Garinger, President and CEO, 4315 South 2700 West, Salt Lake City, UT
       84184 (via certified mail)

       American Express Centurion Bank, 4315 S. 2700 West, Salt Lake City, UT 84184

       American Express Centurion Bank, Attn. Robert Garinger, President and CEO, 4315
       South 2700 West, Salt Lake City, UT 84184 (via certified mail)

       Specialized Loan Servicing, LLC, P.O. Box 631873, Littleton, CO 80163

       Specialized Loan Servicing, LLC, Attn: United Agent Group, Inc., Registered Agent,
       11380 Prosperity Farms Rd. #221E, Palm Beach Gardens, FL 33410 (via certified mail)
        Case 8:18-bk-06457-CPM         Doc 43     Filed 04/17/19     Page 3 of 7




    Suntrust Banks, Inc., 303 Peachtree St. NE, GA-Atlanta-0643, Atlanta, GA 30308

    SunTrust Banks, Inc., Attn: William Henry Rogers, CEO, 303 Peachtree Street N.E.,
    Atlanta, GA 30308 (via certified mail)

    Stillwater Property Owners Association, Inc., Attn. Qualified Property Management, Inc.,
    Registered Agent, 5901 US HWY 19, Suite 7Q, New Port Richey, FL 34652 (via
    certified mail)

    Stillwater Property Owners Association, Inc., c/o Daniel J. Greeberg, Esq., Cianfrone,
    Nikoloff, Grant & Greenberg, P.A., 1964 Bayshore Blve., Suite A, Dunedin, FL 34698

.

                                        /s/ Christine L. Herendeen
                                        Christine L. Herendeen
                        Case 8:18-bk-06457-CPM             Doc 43      Filed 04/17/19       Page 4 of 7




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                            TAMPA DIVISION
IN RE: JOHN SCOTT BLACK                                         CASE NO: 8:18-bk-06457-CPM
                                                                DECLARATION OF MAILING
                                                                CERTIFICATE OF SERVICE
                                                                Chapter: 7




On 4/17/2019, I did cause a copy of the following documents, described below,
Notice of Hearing




to be served for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and
incorporated as if fully set forth herein.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com,
an Approved Bankruptcy Notice Provider authorized by the United States Courts Administrative Office, pursuant to Fed.R.
Bankr.P. 9001(9) and 2002(g)(4). A copy of the declaration of service is attached hereto and incorporated as if fully set forth
herein.
Parties who are participants in the Courts Electronic Noticing System ("NEF"), if any, were denoted as having been served
electronically with the documents described herein per the ECF/PACER system.
DATED: 4/17/2019
                                                          /s/ Christine L. Herendeen
                                                          Christine L. Herendeen
                                                          Herendeen Law, LLC
                                                          PO Box 152348
                                                          Tampa, FL 33684
                                                          833 438 3833
                             Case 8:18-bk-06457-CPM                 Doc 43       Filed 04/17/19         Page 5 of 7




                                        UNITED STATES BANKRUPTCY COURT
                                           MIDDLE DISTRICT OF FLORIDA
                                                 TAMPA DIVISION
 IN RE: JOHN SCOTT BLACK                                                CASE NO: 8:18-bk-06457-CPM

                                                                        CERTIFICATE OF SERVICE
                                                                        DECLARATION OF MAILING
                                                                        Chapter: 7




On 4/17/2019, a copy of the following documents, described below,

Notice of Hearing




were deposited for delivery by the United States Postal Service, via First Class United States Mail, postage prepaid, with sufficient postage thereon
to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if fully set forth herein.

The undersigned does hereby declare under penalty of perjury of the laws of the United States that I have served the above referenced document
(s) on the mailing list attached hereto in the manner shown and prepared the Declaration of Certificate of Service and that it is true and correct to
the best of my knowledge, information, and belief.

DATED: 4/17/2019




                                                                            Jay S. Jump
                                                                            BK Attorney Services, LLC
                                                                            d/b/a certificateofservice.com, for
                                                                            Christine L. Herendeen
                                                                            Herendeen Law, LLC
                                                                            PO Box 152348
                                                                            Tampa, FL 33684
                       Case 8:18-bk-06457-CPM
PARTIES DESIGNATED AS "EXCLUDE"                       Doc
                                WERE NOT SERVED VIA USPS    43 CLASS
                                                         FIRST   Filed 04/17/19 Page 6 of 7
                                                                     MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CASE INFO                                JOY KELLEY AUGUSTINE                     BK GLOBAL REAL ESTATE SERVICES
1LABEL MATRIX FOR LOCAL NOTICING         READ KELLEY ESTATE SERVICES              1095 BROKEN SOUND PKWY NW 100
113A8                                    PO BOX 3111                              BOCA RATON FL 33487-3503
CASE 8-18-BK-06457-CPM                   N FORT MYERS FL 33918-3111
MIDDLE DISTRICT OF FLORIDA
TAMPA
WED APR 17 13-27-43 EDT 2019


DEBTOR                                   ALAN B GEST PA                           AMERICAN HONDA FINANCE
JOHN SCOTT BLACK                         AVENTURA CORP CTR                        P O BOX 168088
7741 STILL LAKES DR                      20801 BISCAYNE BLVD                      IRVING TX 75016-8088
ODESSA FL 33556-2262                     SUITE 506
                                         MIAMI FL 33180-1400




AMEX                                     ERIC W NELSON                            INTERNAL REVENUE SERVICE
CORRESPONDENCEBANKRUPTCY                 100 2ND AVE N                            CENTRALIZED INSOLVENCY OPERATIONS
PO BOX 981540                            SUITE 240                                PO BOX 7346
EL PASO TX 79998-1540                    SAINT PETERSBURG FL 33701-3338           PHILADELPHIA PA 19101-7346




MERCEDES BEN                             MERCEDES BENZ FINANCIAL SERVICES         MONTREUX STILLWATER MAS ASS
PO BOX 685                               PO BOX 685                               2605 ENTERPRISE ROAD EAST
ROANOKE TX 76262-0685                    ROANOKE TX 76262-0685                    CLEARWATER FL 33759-1068




MOUNTAIN STATES ADJUSTMENT               MOUNTAIN STATES ADJUSTMENT A DIVISION    ONLINE COLLECTIONS
123 W FIRST ST SUITE 430                 OF MS                                    ATTN BANKRUPTCY
CASPER WY 82601-7502                     2775 SUNNY ISLES BLVDSUITE 100           PO BOX 1489
                                         MIAMI FL 33160-4078                      WINTERVILLE NC 28590-1489




PRIMEWAY FCU                             SANTANDER CONSUMER USA                   STEVE SPRECHMAN ESQ
ATTN BANKRUPTCY                          ATTN BANKRUPTCY                          SPRECHMAN FISHER
PO BOX 53088                             PO BOX 961245                            2775 SUNNY ISLES BLVD
HOUSTON TX 77052-3088                    FORT WORTH TX 76161-0244                 SUITE 100
                                                                                  NORTH MIAMI BEACH FL 33160-4078




SUNTRUST                                 SUNTRUST BK TAMPA BAY                    US BANK NA DBA ELAN FINANCIAL SERVICES
PO BOX 4997                              ATTN BANKRUPTCY                          BANKRUPTCY DEPARTMENT
ORLANDO FL 32802-4997                    MAIL CODE VA-RVW-6290                    PO BOX 108
                                         PO BOX 85092                             ST LOUIS MO 63166-0108
                                         RICHMOND VA 23285-5092




                                                                                  CM/ECF E-SERVICE
US BANK NATIONAL ASSOCIATION AS          WELLS FARGO HOME MOR
TRUSTEE F                                ATTN BANKRUPTCY DEPARTMENT               ROBERT M GELLER +
CO LINDSEY SAVASTANO                     8480 STAGECOACH CIR                      LAW OFFICES OF ROBERT M GELLER PA
2424 NORTH FEDERAL HIGHWAY SUITE 360     FREDERICK MD 21701-4747                  807 W AZEELE STREET
BOCA RATON FLORIDA 33431-7780                                                     TAMPA FL 33606-2209




CM/ECF E-SERVICE                         CM/ECF E-SERVICE                         EXCLUDE
UNITED STATES TRUSTEE   TPA713 +         LINDSEY A SAVASTANO +                    CHRISTINE L HERENDEEN ATTORNEY FOR
TIMBERLAKE ANNEX SUITE 1200              SHAPIRO FISHMAN AND GACHE LLP            TRUSTEE
501 E POLK STREET                        2424 NORTH FEDERAL HIGHWAY               PO BOX 152348
TAMPA FL 33602-3949                      SUITE 360                                TAMPA FL 33684-2348
                                         BOCA RATON FL 33431-7701
                       Case 8:18-bk-06457-CPM
PARTIES DESIGNATED AS "EXCLUDE"                       Doc
                                WERE NOT SERVED VIA USPS    43 CLASS
                                                         FIRST   Filed 04/17/19 Page 7 of 7
                                                                     MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

EXCLUDE                                  CM/ECF E-SERVICE
CHRISTINE L HERENDEEN +                  NOTE ENTRIES WITH A + AT THE END OF
PO BOX 152348                            THE
TAMPA FL 33684-2348                      NAME HAVE AN EMAIL ADDRESS ON FILE IN
                                         CMECF
